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     Telephone: (509) 353-2767
 6
 7                       UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF WASHINGTON
 8
 9 UNITED STATES OF AMERICA,                  No. 4:21-cr-06028-MKD

10                            Plaintiff,      RESPONSE TO DEFENDANT’S
11                                            MOTION TO CONTINUE
                      v.                      PRETRIAL, TRIAL AND EXTEND
12                                            DEADLINES
13 JOSE MENDOZA-RUELAS,
   OSCAR CHAVEZ-GARCIA,
14 JOEL CHAVEZ-DURAN,
15
                              Defendant.
16
          Plaintiff, United States of America, by and through Vanessa R. Waldref, United
17
   States Attorney for the Eastern District of Washington, and Stephanie Van Marter,
18
19 Assistant United States Attorney for the Eastern District of Washington, submits the
20 following Response to Defendant’s Motion to Continue Pretrial, Trial and Extend
21 Deadlines in response to the Defendant’s Motion to Continue Trial at ECF No. 103:
22       The United States has no objection to Defendant’s motion to continue trial and

23 agrees with the proposed scheduling order, with the following edits and/or additions.
24 The United States requests that it be afforded two weeks to respond to any Pre-Trial
25 Motions filed given the number of defendants and complexity of the case. The United
26 States therefore requests the Court to add a response date of April 14, 2022, and a
27 reply if needed, for April 22, 2022.
28
     UNITED STATES’ NOTICE OF CONSENT TO APPEAR BY VIDEO - 1
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           Additionally, the United States requests that trial briefs, jury instructions,
 1
     proposed verdict forms, and voir dire be provided to the Court May 13, 2022, and that
 2
     the Exhibit Binders be due the same day as the JERS deadline of May 17, 2022. These
 3
     dates can also be addressed if there is any disagreement at the Pre-trial conference.
 4
           The United States apologizes to the Court and counsel as the assigned AUSA
 5
     did not see Mr. Pechtel’ s email inquiring about the continuance prior to his filing of
 6
 7 the motion. The assigned AUSA is in agreement with the continuance.
 8                                                 Vanessa R. Waldref
                                                   United States Attorney
 9
10                                                 s/ Stephanie Van Marter
                                                   Stephanie Van Marter
11                                                 Assistant U.S. Attorney
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     UNITED STATES’ NOTICE OF CONSENT TO APPEAR BY VIDEO - 2
      Case 4:21-cr-06028-MKD    ECF No. 108    filed 02/04/22   PageID.779 Page 3 of 3




1
                               CERTIFICATE OF SERVICE
2
3         I hereby certify that on February 4, 2022, I electronically filed the foregoing
4 with the Clerk of the Court using the CM/ECF System which will send notification of
5 such filing to the following:
6
          Ben Hernandez, III
7         ben_hernandez@fd.org
8
          Nick Mirr
9         nick_mirr@fd.org
10
          Roger Peven
11        rjpeven@gmail.com
12
          Adam Pechtel
13        adam@pechtellaw.com
14
15
                                           s/ Stephanie Van Marter
16                                         Stephanie Van Marter
17                                         Assistant United States Attorney
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     UNITED STATES’ NOTICE OF CONSENT TO APPEAR BY VIDEO - 3
